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IN THE CIRCUIT COURT FOR BALTIMORE CITY

RYKIESHA JEFFERS *
PLAINTIFF =
VS.
* Civil Case No.:24C15007180
RAQUEL HARRISON-BAILEY, et al
DEFENDANTS’

* * * * * * * * * * * * #

AFFIDAVIT OF CANDACE TURNER

I, Candace Turner, am over the age of 18 and competent to testify herein, make this
statement from my personal knowledge and it is accurate to the best of my information and belief

and states:
1 ] provide administrative services for the Law Offices of Kim Parker, PA.

2 On or about Wednesday, December 7, 2016 at approximately 1:25 PM Ms. Parker
provided me with a correspondence dated October 11, 2013 directed to her from the Maryland
State Treasurer’s Office in the Rykeisha Jeffers police brutality matter. At the bottom of the
correspondence there was a cc: reference to a person named Michael Fullerton. From my

knowledge and experience that meant a copy of the letter was sent to Michael Fullerton.

3. Ms. Parker requested that I call 410-454-7222 which she indicated was the
telephone number for the Maryland Transit Administration (MTA). She stated when the person

answers the telephone, please ask to speak with Mr. Michael Fullerton.

4. At approximately 1:28 PM, I proceeded to place the call to telephone number

410-454-7222. The person answered and stated “Maryland Transit Administration”. The person
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asked how she could help me and I asked to speak to Mr. Michael Fullerton. She requested that I

hold the line and proceeded to connect me to Mr. Fullerton.

5. A female answered the phone and stated “Transit Insurance Group” she stated her
name was “Cheryl”. I asked to speak with Mr. Michael Fullerton. Cheryl stated he was not in
the office as he only worked on Thursdays and Fridays. Cheryl offered to help me but I insisted

that I needed to speak with Michael Fullerton.

6. Cheryl offered to put me through to Michael Fullerton’s voicemail and gave me
the extension 7217 as the appropriate extension for Mr. Michael Fullerton. I was put through to
Mr. Fullerton’s voicemail. The voicemail was that of a male who identified himself as Michael

Fullerton. I did not leave a message.

| affirm under the penalties of perjury under the laws of the State of Maryland, that the above-

referenced statement is true and correct to the best of my knowledge, information and belief.

FURTHER AFFIANT SAYETH NAUGHT

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